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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

 PATRICK R. SMITH, et al.                              )
                                                       )
                                Plaintiffs,            )
                                                       )
                           v.                          )        No. 2:20-cv-00630-JMS-DLP
                                                       )
 WILLIAM P. BARR, et al.                               )
                                                       )
                                Defendants.            )

        Order Directing Defendants Michael Carvajal and T.J. Watson to Show Cause

        This Court entered an order on January 11, 2021, enjoining the defendants from carrying

 out executions without taking certain safety precautions to minimize the risk of spreading

 COVID-19 to the plaintiffs. Dkt. 56. The first precaution listed is, "The defendants will enforce

 mask requirements for all staff participating in the executions." Id. at 1.

        The plaintiffs have presented evidence that personnel in the execution chamber did not

 comply with mask requirements. Dkts. 61-1, 62-2, 62-3. They have also filed a motion seeking an

 order directing the defendants to show cause why they should not be held in contempt for violating

 the Court's injunction. Dkt. 61.

        The plaintiffs' motion, dkt. [61], is granted to the extent that defendants T.J. Watson and

 Michael Carvajal shall have until 7:00 p.m. Eastern on January 15, 2021, to show cause why

 they should not be held in contempt for violating the injunction. The response must be personally

 verified by each of these defendants.

        IT IS SO ORDERED.


         Date: 1/15/2021
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